Case 1:18-cv-00404-GJQ-PJG ECF No. 13 filed 06/04/18 PageID.44 Page 1 of 1



                UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF MICHIGAN
                          MINUTES

   Case Number               Date                  Time                Judge

  1:18-cv-00404-GJQ        6/04/2018       11:01 - 11:29 AM        Phillip J. Green

                             CASE CAPTION

                   Pollard v. City of Muskegon Heights et al

                             APPEARANCES
    Attorney:                                      Representing:
Shawn Christopher Cabot                Plaintiff

(By Telephone)

Lisa Hall                              Defendants

                             PROCEEDINGS

NATURE OF HEARING:

Rule 16 Scheduling Conference Held; CMO to issue.




                       Proceedings Digitally Recorded
                         Deputy Clerk: A. Doezema
